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                 IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                 IN RE:              :         CHAPTER 13
                                     :
                                     :
      FRANCES A. MAGUIRE             :
      CAROLYN R. MCGUIRE             :         N0. 19-13116-AMC
                Debtors              :



                      ORDER APPROVING COUNSEL FEES


      AND NOW, upon consideration of the attached Supplemental

Application for Approval of Counsel Fees submitted by David M.

Offen, Attorney for the Debtors, and upon notice and

certification of no objection it is hereby ORDERED that:

       Supplemental Counsel fees in the amount of $500.00 is

allowed and shall be paid by the Chapter 13 Trustee to the extent

there are funds available and consistent with the terms of the

Modified Plan.




____________                   ___________________________________
DATED                          HONORABLE ASHELY M. CHAN
                               UNITED STATES BANKRUPTCY JUDGE




                                                          Date: December 9, 2022
